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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 PAINTERS DISTRICT COUNCIL NO. 58, et. al., )
                                            )
                      Plaintiffs,           )
                                            )             Case No: 4:21-cv-00639-MTS
 v.                                         )
                                            )
RON WARD D/B/A RON WARD PAINTING            )
AND RON WARD PAINTING & DECORATING )
                                            )
                                            )
                      Defendant.            )

    MOTION FOR ENTRY OF PARTIAL DEFAULT JUDGMENT AND DEFAULT
                  ORDER TO COMPEL ACCOUNTING

       COME NOW Plaintiffs, by undersigned counsel, and respectfully move this Court for entry

of partial default judgment against Defendant Ron Ward d/b/a Ron Ward Painting and Ron Ward

Painting & Decorating. Defendant was served with the Summons and Complaint on June 19,

2021. [Doc. No. 5]. As of today’s date Defendant has not filed any responsive pleadings. The

Clerk of Court granted Plaintiffs’ Motion for Entry of Clerk’s Default against Defendant, on July

27, 2021. [Doc. No. 7].

       Pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure, Plaintiffs move this Court

to enter an order compelling a payroll audit of Defendant’s financial books and records covering the

time period from January 1, 2018 to date within thirty (30) days of the Court’s Order at Defendant’s

expense, so that the Court can subsequently determine and adjudicate the amount of damages due

and owing to Plaintiffs for that time period and enter judgment for that amount.
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                                                   Respectfully Submitted

                                                   HARTNETT REYES-JONES, LLC

                                                   /s/ Matthew J. Gierse
                                                   MATTHEW J. GIERSE, No. 63828MO
                                                   4399 Laclede Avenue
                                                   St. Louis, MO 63108
                                                   Telephone: 314-531-1054
                                                   Facsimile: 314-531-1131
                                                   mgierse@hrjlaw.com

                                                   Attorneys for Plaintiffs



                               CERTIFICATE OF SERVICE

        THE UNDERSIGNED HEREBY CERTIFIES that on November 30, 2021, the foregoing
was mailed by United States Postal Service to the following non-participants in Electronic Case
Filing: Defendant Ron Ward d/b/a Ron Ward Painting and Ron Ward Painting & Decorating,
18463 Sweetgum Rd., Centralia, IL 62801.


                                                   /s/ Matthew J. Gierse




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